          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                       CRIMINAL NO. 3:02CR156


UNITED STATES OF AMERICA                 )
                                         )
                                         )
           vs.                           )           ORDER
                                         )
                                         )
JAMES E. McLEAN, JR.                     )
                                         )


     THIS MATTER is before the Court on Defendant’s pro se “Motion to

Return Property.” The motion is opposed by the Government. For the

reasons stated herein, the motion is denied.



                       I. PROCEDURAL HISTORY

     In a 66-count bill of indictment filed in 2002, Defendant and several

co-conspirators were charged with devising and executing a massive

mortgage fraud scheme, “whereby they obtained millions of dollars from

the secondary mortgage market by making and selling fraudulent and

fictitious mortgage notes in the names of false borrowers.” Superseding

Bill of Indictment, filed September 13, 2002, at 1. Following a jury trial,




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Defendant was convicted of all 66 counts. Verdict Sheet, filed November

22, 2002.

      On the day of the convictions, with the consent of both the

Government and Defendant, the Court entered a Preliminary Order of

Forfeiture. Preliminary Order of Forfeiture, filed November 22, 2002.

The Order listed the following items (among others) as forfeited to the

United States:

•     The sum of $21 million as proceeds of the conspiracy

•     1997 Chevrolet Monte Carlo V-6 Coupe 2D LS
      VIN 2G1WW12M7V9153978
      North Carolina license number KSF 6143

•     $7,925 substituted for:
      1997 Chevrolet Monte Carlo V-6 Coupe 2D LS
      VIN 2G1WW12M7V9153978
      North Carolina license number KSF 6143

•     1998 Chevrolet C3500 Pick-up Truck, V-8 PKP Fleet Crew Cab 8'
      VIN 1GCHK33J5WF026344
      North Carolina license number LTP 5867

•     $18,500 substituted for:
      1998 Chevrolet C3500 Pick-up Truck, V-8 PKP Fleet Crew Cab 8'
      VIN 1GCHK33J5WF026344
      North Carolina license number LTP 5867




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Id. at 2-3.1 When no one came forward with a claim to these items, the

Court entered a final order confirming their forfeiture. Amended First

Final Order of Forfeiture, filed August 19, 2003, at 1, 2-3. Like the

preliminary order, the final order referred to the fact that all parties to the

case had consented to the forfeiture of the items. Id. at 2.

      On December 23, 2002, the Government filed a supplemental motion

for forfeiture, which explained that in the days before his trial, Defendant

had sold some real property located at 301-309 Neal Drive, Charlotte,

North Carolina, to a third party named Phillip Hernandez. Motion for

Supplemental Order of Forfeiture, filed December 23, 2002, at 2.

Hernandez gave Defendant approximately $3,000 as a down payment, and

the balance of $130,120 was secured by a note and deed of trust made

payable to Defendant’s company, NMAC Corp. Id. Hernandez and his

attorney soon brought the note and deed of trust to the attention of the

Government. Id.

      The Government advised that much of the $21 million in illegal

proceeds listed in the first order of forfeiture was unrecoverable. Id. at 3.


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         The VIN numbers originally reflected in the preliminary order of
forfeiture proved to be incorrect and were changed by a later order of the
Court. For the sake of simplicity, the correct numbers are listed here.


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It, therefore, requested that the note and deed of trust for the Neal Drive

properties be forfeited as a partial substitute. Id. Defendant stated,

through his attorney, that he would not consent to this forfeiture but that he

did not intend to object or file any response. Id. After the response period

had expired without further communication from Defendant, the Court

granted the Government’s motion and ordered the note and deed of trust in

the amount of $130,120 be forfeited as substitute property for a portion of

the $21 million described in the preliminary order of forfeiture.

Supplemental Order of Forfeiture, filed January 28, 2003, at 1.



                                  II. ANALYSIS

       Through his pro se motion, Defendant now challenges the

Government’s seizure of the Monte Carlo and the pick-up truck, as well as

and the note and deed of trust pertaining to the Neal Drive property. He

requests that the Court “order the [G]overnment to return all property

stated herein and release all right, title, and interest” to himself. Motion to

Return Property, filed July 25, 2008, at 6. In support of his request, he

cites Federal Rule of Criminal Procedure 41 and 19 U.S.C. § 1607. Id. at

1.



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      Section 1607 of Title 19, United States Code, is a provision under the

Tariff Act of 1930 which bears no relevance to the instant forfeiture

proceedings. Rule 41 governs criminal searches and seizures. It

provides, in part:

      A person aggrieved by an unlawful search and seizure of
      property or by the deprivation of property may move for the
      property’s return. The motion must be filed in the district where
      the property was seized. The court must receive evidence on
      any factual issue necessary to decide the motion. If it grants
      the motion, the court must return the property to the movant,
      but may impose reasonable conditions to protect access to the
      property and its use in later proceedings.

Fed. R. Civ. P. 41(g). Under this rule, “[o]nce seized property is no longer

needed as evidence, a criminal defendant is presumed to have the right to

its return.” United States v. Pierre, 484 F.3d 75, 87 (1st Cir.), cert.

denied, 128 S. Ct. 268 (2007). “However, [a] Rule 41[(g)] motion is

properly denied if . . . the property is . . . subject to forfeiture[.]” Id. (first

and second alterations in original) (internal quotation marks omitted);

see also Baranski v. Fifteen Unknown Agents of ATF, 195 F. Supp. 2d

862, 868 (W.D. Ky. 2002) (holding that movant was not entitled to

equitable relief under Rule 41 when forfeiture proceedings already

provided an adequate remedy at law).




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      In this case, there can be no question that the relevant property was

subject to forfeiture and that proper forfeiture proceedings took place.

Indeed, Defendant explicitly consented to the Court’s preliminary order

forfeiting the two cars (as well as the cash previously “substituted” for

them). Defendant’s consent to the preliminary order made that order final,

as far as he was concerned. Fed. R. Crim. P. 32.2(b)(3) (“At sentencing

– or at any time before sentencing if the defendant consents – the

order of forfeiture becomes final as to the defendant[.]”). As to the

forfeiture of the note and deed of trust via the supplemental order of

forfeiture, although this order was not entered consensually, Defendant

nonetheless failed to appeal this order, nor did he seek any other relief

from it. The supplemental order then became final (as to Defendant) at the

time of his sentencing. Id. Under the rule stated in Pierre, Defendant may

not now mount a collateral challenge to these five-year-old forfeiture

orders.

      In short, Defendant has stated no persuasive reason in support of his

request for return of property, and the Court will accordingly deny his

motion.




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                               III. ORDER

     IT IS, THEREFORE, ORDERED that Defendant’s motion to return

property is hereby DENIED.

                                   Signed: September 8, 2008




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